   Case 1:23-mi-99999-UNA Document 2897-4 Filed 09/08/23 Page 1 of 5




Andre R. Johnson v. The Kroger Co.
State Court of Fulton County, State of Georgia
Civil Action File Number: 23EV004834

Andre R. Johnson v. The Kroger Co.
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA (Removal # 1:23-mi-99999)




     EXHIBIT A: PETITION FOR REMOVAL



                PLAINTIFF'S DEMAND LETTER
                  Case 1:23-mi-99999-UNA Document 2897-4 Filed 09/08/23 Page 2 of 5




                                                       Hotchkiss Laxr Fie'rrr LLC
             185 E. Lake Ter. SE                                                                 Tel: (706) 424-nn
             Atliurta, GA 30317                                                                  Fax (404) 393-6037
                                                                                   Email : paul@hotchkisslawfirn. com



                                                                 June 21,2023

            VIA (IER       u.s. i\tr{Il
            RETURN RECEIFT REOUESTAI}
            AND EMAIL
            Wencly Domelly
            Sedgu,'ick Claims Managernerrt Services, Inc
            P.O. Box 1445?
            Lexingtcn. KY 40512
            lvencli.-cl pir:rqllv@r. *e ilg wi {:k. r arrl


                      Re:        T IME-LIMITED SETTLEh,IENT              DEh,fdND
                                 Claim:                      4A220202S8W-0001
                                       Client:
                                 Sedgwick                    K011 Kloger East/Aflanta
                                    Date:
                                 Loss          01121/?0?i
                                 Claimant:     Andre Jotnson

            Dear Ms. Donnelly,

                    Thank you for taking the hnte last i,rieek to call rne about this claim. Whiie r,ve appreciate
            your client's apparent desire to resclve this matter short of litigation, yoru client's $3,000.00
            settiement otTer signifies a fixrdamental misunderstanding of the grarrity of the subject pharmacy
            errors rutd, moteover, the harmful efTects ttrat these repeated eilors (9 tirnes) had on Andre
            Johmon-a teenager in his tinal years of high school at the time--aver the course of an entire
            calendar year. Along with the following demancf please allow this letter to explain more chrecfly
            why yoru clj.ent should take this claim seriously.

                                                             $nrrr,nnrun-r Paprllm

                   furdle Johnson and his mother. Giovanna Johnson, agree to settle all clairns against The
            Kroger Co. and K01l Kloger East/Atlanta for $950,000.0fi fl-trine-Hunclred Fifly- Thousand and
            001i00 Dolliars). This is a time-limited settlernent clemand macle pulsriant the Georgia
            Unliquidated Damages Interest Act, O.C.G.A. $ 5l-12-14. This deniancl shall remain open until
            July 26' 2023, at 5:00 p.m, at which time, if not accepted, is irrer,ocably r,vithdrai,r,n. r



            t Should this matter fbil to resolve prior to iitigatiorr,lhe Jolmsons'
                                                                                    irritial clemand following the
            fllirg of suit will increase to $2 million.



6-21-2023                                                        44220202S8W0001                                        6020230621024219
                Case 1:23-mi-99999-UNA Document 2897-4 Filed 09/08/23 Page 3 of 5


            Andre Jahnson Pre-suit Dernand
            Jrute 2i, 2023
            Page 2 of4

                    Upon acceptance of this demancl at the tirne and in the rnarurcr set forth herein, Andle
            Johnson and his mother, Giovanna Jolnuon, agree to sign a rnufudly agreeable settlement and
            release of all claims. Aclditirnally, tlie Jolursons will agree to lien protection on the condition that
            app-ropdftte language that Andre is '1rot made r,vhole" is contained in the release. If any aciclitional
            settlement tenns are desired. please request said tenns in acivance of acceptance of the settlement
            demand.

                   Acceptance of the above ofTer must be made b]. confirmation in writing on ar before the
            time prescribed above. The r.witing should be sent to Hotchkiss Lalrr Firm LLC, 185 E. Lake Ter.
            SE, Aflanta, Georgia 30317, and should be irccampruried by a check rnacle payable to "Andre
            Joh:xon and Hotclrkiss Law Firm LLC."

                                                     Fecruar- Ovr.nrrnw

                   Andle Johnson lvas bornr,vith ar rare genetic conditionknown as verylong-chain ac14-CoA
            dehydrogenase deficienc,rr ("VLCAD deficienc,v'). According tc the National institutes of Health:

                             VLCAD deficiency is a condition in which the body is unable to properly
                             breakdowr cefiain fats (called very long-chain fatly acid;) into energ,v,
                             parlicirlarly drring periocls r,r,rthout food (fastirg). Signs ancl spnptoms may
                             include lor'v blood sugirr (fupoglyssmir), lack of energy, ancl muicle
                             weakness. Children affected by the most severe fonns of the condition are
                             also atrisk of complications such as liver abnormaliiies anci heart prablerns.

                    Andle was diagnosed with VLCAD deficiency as an infant and began a daily regimen of
            Levocamitine to protect agarnst VlcAD-deficiency-relaterl liver, heart, and muscle problems.
            Persons with unh'eatecl VLCAD deficiencl' can sufTer an array of serious complications, inclucling
            lhabclomyal).sis, hypoglycemia, low energl', general muscle weakness, liver damage, and heart
            probletns. Front the time of Anclre"s inl-ancy until January 6, 2021, when he was then 16 years old"
            Andle's mother routinell' filled Ancfu'e's Levocarnitine prescription at the Kroger Phamracy on
            located at 12460 Crabapple Road inAlpharettu Georgia.

                   On January 6, 2021, and on 9 separate occasions therealter, Kroger Fharmacy inexplicably
            dispensed to the Johnsons Levetiracetam irutead of Levocarnitine. Levetiracetam (brand ffime:
            Keppra) is an anticonrrrilsant dtug used tc h'eat seizures. Andle does nat have epilepsl', does not
            have any history of seizures, and has never hacl a prescription fcr Levetiracekrm (Keppra).

                    As a result of Kroger Pirarmacy's repeated filling and clispensing errors, Andle was not
            only deprived of necessary fieatrnent for his VLCAD deficiency for more than an entire year but
            also given an unnecessaty tnedication that had its ou,,n set af clehimental side effects. including
            unusual tiredness ancl r,veakness, fetrer, headache, hair loss, and a drtficult wrthclrawal period.
            Notably, Kroger's errors were not discortered by Kroger but rather bir Andre's long-time foeating
            geneticist, Frances Kendall. M.D., rn'hen Kroger faxecl her a refili request for Keppra and she
            investigated.




6-21-2023                                                 4A220202S8W000'1                                         6020230621024215
                Case 1:23-mi-99999-UNA Document 2897-4 Filed 09/08/23 Page 4 of 5


            Andre Johnson Pre-suit Dernand
            Jrute ?1, 2023
            Page 3 of4

                   Throughcut the entire corrrse of 2021-tlie period tluoughout .,r'hrch the sutlect phannacy
            elrors occurred-Andre suffered from the cornbinecl cormequences of rnheatecl VLCAD
            deficiency and the sicle e1l-ects of Keppra.

                   Dr. Kenclallns recards and various lab rezuIts, as well as photos of Andr.e's Keppra-
            caused hail'loss, are available to de$, anrUor dourrloatl at:

             Ittt*s:#x'$nr'"rlronbqx"e*rrt/sk/hc4$r?ksahdv$iq{::LiLE413l},Y3?,,9ffi'Sn*f&6}rrESWlrxL;a?{il**

                   As you can read for yourself, Dr. Kenciall is crystal clear th.tt she assigns the blame tbr
            Andre's year-long coruse of h'oubling meclicai issues and s5.'rnptoms riirecfly upon Kroger
            Pharmacy's series of prescription errors, rn'hich all could ancl shoulclhave been avoicled had Kroger
            Pharmacy staff followed proper protocol. The 'tughlights" of these year-long meilical issues and
            sSnnptoms include but are not limited to:

                        r Four major episodes of rlrahdomyolysis;
                        r Left venhiculirr r,vall hlpertrophy w{th drmirrisitecl venhiculal septal hssue;
                        r Chronic fatigue;
                        r Slurreci speech,
                        r "Profouncf' elevations of CPK leveis;
                        r Elevated ALT and AST en4rynes (otten indicating inflamrnation or clamage
                            to cells in the liver, kidneys, andlor heart);

                        r Hair loss (see providedphotas); and
                        .   Keppra r,r'ithclrarval sltnptoms {including }readaches and vomiting x I
                            r.veek).

                   Again, Dr. Kendail's recotds make clear that Andre's issues and symptoms over the course
            of 2021 were directiy relatedto his failule to take Levocarnitine (as prescribed). lus taking of
            Keppra (not prescribed)" or both:

                            In rehospect, Andre reports that shortly after starting Keppra he began to
                            deveiop more fatigue, hair loss, slurred speech and had 3-4 episodes of
                            lhabdomyolysis with more proforurd elevations of cPK levels comparedto
                            recent past. \\{hen the Keppra rvas discontimied in February 2022 Andre
                            experienced acute onset of he adaches and vonriting that resolved over the
                            course of one ureek. Since the re-introduction af his camrhne" he reports
                            Inore enelgy and less f.rtigue. Laboratory studies obtained in March 20Zl
                            compared to March 2022, sliow a reduction in long chain nietabolites on




6-21-2023                                                  44220202S8W0001                                     6020230621024219
                  Case 1:23-mi-99999-UNA Document 2897-4 Filed 09/08/23 Page 5 of 5


            Anclre Johnson Pre-suit Dernand
            Jure 21, 20?3
            Page 4 of 4

                           acyicamitine profile, increased canritine levels and reduced CFK. A recent
                           follow-up repeat echo cardiogram noted some left ventricuiar rvall
                           hypertroph.trwith nornal carcliac frurctioning. Dr. Saliee, Andle's iong time
                           cardioiogl. suspects tire left ventricular wali h1perto'ophy development is
                           secondaryto his provision of Keppra insteacl af L-camitine fbr the past year.

                           During oul follow-up we clisoussecl the inadvertent discontinuation of his
                           canritine and inh'oduction of Keppra. Certainly, his general increased
                           metabolic instability and rletectron of LV wall hlpertrophlr s6dil be linked
                           to his lack of carnitine therapy. His hair loss upon inhoduction of Keppra
                           and withdrawal symptonm of headaches and vomitirg with its cessation
                           appeff to be directly iinked tc this medicatir-rn's usage. Since ,fuidre has nofir
                           been on camitine again for one rnantlg we will repeat his labs now and again
                           in several months to make certain the-v are stabilizirg.

            .9ee Kendall's March 16,202? Note.


                    Also, please ncte that but for the then-ongoing COVID-I9 panclernic, Andre would harre
            souglrt hospital attention tbr his episodes of rirtrbdomyoiysis. However, becarre of the pandemic
            and the increased risks to persons with VLCAD associated with COVID, Andre was heated at
            home with aggressive hycilationtherapy at the advice of Dr. Kendall.

                    \[4ri1e it may be Kroger's position that Andle sufferecl no 'Teal" damages becarse of a
            shortage of related meclical specials, oile can prerume that a Fulton County-jury would sh'ongl1'
            disagree. Even if Andre's hair regraws flrlly, lfs heart hlpertrophy resolves, anci if his liver and
            kidneys escaped lasting damage-tril of which are yet to be determinecl-Kloger Pharmacy's
            series of medication Errors effectively robbed him of a year of his young life ftring iris formative
            high school )rears. Andre, who is now enrallecl at Georgia State University, is still dealing with his
            hail loss, his nerni-onset cardiac conditiorl and potential lastrng irljuries to his liver and kidneys,
            all of which are continuing consequences of Kroger Phannacv"s negligence.

                                                              ,F**


                     This clemand is made in good faith to resolrre this matter experlitiousl}', for the benefit of
            all parties. I arn available to cliscuss this matter over the phone. if you feel that flnther discussion
            would be helptul. Othenvise, we shall ar,vait your reply.

                                                                     Sincerell',


                                                                                   A-f
                                                                     Paul I. Hotchkiss

            Cc:     Anclre Johnson (via email)
                    Giovarura Johnscn (via email)




6-21-2023                                                4A220202S8W0001                                          6020230621024219
